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                   UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
 ____________________________________
                                      )
 IN RE:                               )
 YVONNE V. SKAPARS                    )      Chapter 13
        Debtor,                       )      Case No.: 15-11221
 ____________________________________)


     MOTION TO AMEND SCHEDULES I & J AND THE CHAPTER 13 PLAN

        Now come the Debtor, Yvonne Skapars, through counsel and hereby requests this

 Honorable Court allow her to Amend Schedules I & J and the Chapter 13 Plan. As

 reasons therefore, the debtor states as follows:

        1. The amended Schedules I & J shows that the Debtor can afford the new plan

 payment.

        2. The amended Chapter 13 Plan increases the dividend to pay the unsecured

 creditors based on the unexempt equity in the Debtor’s assets.

        WHEREFORE, Debtor, Yvonne Skapars, hereby requests the court allow her to

 Amend Schedules I & J and the Chapter 13 Plan.

                                               Respectfully Submitted,
                                               The Debtor,
                                               By Her Attorney,


                                               /s/ Peter M. Daigle______________
                                               Peter M. Daigle, Esquire
                                               BBO # 640517
                                               1550 Falmouth Road, Suite 10
                                               Centerville, MA 02632
                                               (508) 771-7444

 Dated: May 26, 2016
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                              CERTIFICATE OF SERVICE


          I hereby certify that I have caused a duplicate copy of the above to be served upon
 all parties of record by electronic e-mail and first class mail.


                                               /s/ Peter M. Daigle__________________
                                               Peter M. Daigle, Esquire

 Dated: May 26, 2016


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 Po Box 15298
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 Citicorp Credit Services/Attn: Centraliz
 Po Box 790040
 Saint Louis, MO 63179
 Citibank
 Po Box 6241
 Sioux Falls, SD 57117
 Collection
 8875 Aero Dr Ste 200
 San Diego, CA 92123
 Dept Of Ed/navient
 Po Box 9635
 Wilkes Barre, PA 18773
 Discover Bank
 Discover Products Inc
 PO Box 3025
 New Albany, OH 43054-3025
 Discover Fin Svcs Llc
 Po Box 15316
 Wilmington, DE 19850
 eCAST Settlement Corporation, assignee
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 POB 29262
 New York, NY 10087-9262
 First National Bank
 Po Box 3412
 Omaha, NE 68103
 First National Bank
 Attention:FNN Legal Dept
 1620 Dodge St. Stop Code: 3290
 Omaha, NE 68197
 GECRB / JC Penney
 Attn: Bankruptcy Dept
 Po Box 103104
 Roswell, GA 30076
 GECRB / JC Penney
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 Navient Solutions Inc.
 Department of Education Loan Services
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 Navient/Blue Ridge Funding on behalf of MHEAC dba
 Keith Coburn
 MHEAC d/b/a ASA
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